Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 1 of 31 Page|D 634

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISlON

AATRIX SOFTWARE, INC.,

Plaintiff,
v. Case No. 3:15-cv-164-HES-MCR
GREEN SHADES SOFTWARE, lNC.,

Defendant.

ORDER

Bef`ore the Court is Defendant’s “Dispositive Motion to Dismiss Amended Complaint
Under 35 U.S.C. § lOl” (Doc. 20, filed July 15, 2015), and Plaintifi`s Response in opposition
thereto (Doc. 25, filed Aug. 12, 2015). The Court held a hearing on Defendant’s motion on
October 21, 2015. Upon consideration ol` the Parties’ iiiings, oral argument, and the relevant
case law, the Court determines the following

I. BACKGROUND

Plaintif`l` Aatrix Sof`tware, Inc. (“Aatrix”) is the assignee and owner of two patents, both
of which are entitled “Method and Apparatus for Creating and Filing Forms.” (Docs. 7-l, 7-2).
Aatrix filed a patent application on March 26, 2002, and United States Patent No. 7,l7l ,615 (the
" '615 Patent”) was duly and legally issued to Aatrix on January 30, 2007. (Doc. 7-l). Aatrix
filed a second patent application on January 26, 2007, and United States Patent No. 8,984,393
(the " ‘393 Patent”) was duly and legally issued to Aatrix on March 17, 2015, as a continuation
of` the ‘615 Patent. (Doc. 7-2). The patents at issue disclose Aatrix’s invention, which is a “data
processing system"_i.e., computer application software_that designs and creates computerized

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Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 2 of 31 Page|D 635

forms for use with third-party business accounting software to facilitate the completion and filing
of forms with federal and state governmental agencies. (Doc. 7-l , col. 1-2; Doc. 7-2, col. 1-2).

Aatrix filed suit against Defendant Green Shades Software, Inc. (“Green Shades”) on
February 13, 2015, and filed its Amended Complaint on May 15, 20]5, alleging that Green
Shades has infringed and is still infringing both the ‘615 and ‘393 Patents “by making, selling,
and using methods and apparatuses that embody the patented invention” in Green Shades’
software products. (Doc. 7, il‘l] 10, 17). Green Shades’ products at issue in this lawsuit are the
Green Shades 'l` ax Filing Center (“TFC”), which is the product name for an installed software
package, and the Green Shades Payroll 'I`ax Service (“PTS”), which is the product name for
software accessed and used over the Internet. (Id. il 5). Both products are made, offered for sale,
and sold or licensed by Green Shades. (!a'.).

In response to the Amended Complaint, Green Shades filed the present Motion to
Dismiss pursuant to Federal Rulc of Civil Procedure 12(b)(6), arguing that both the `6]5 and
`393 Patents are invalid because they are directed to patent-ineligible subject matter under 35
U.S.C. § lOl. (Doc. 20 at l). Green Shades argues that the claimed patents are directed to "an
abstract idea using generic computer functionality,” and thus, “do not constitute patent-eligible
subject matter under Scction 101 as a matter of law." (]d. at 2). Specifically, Green Shades
states that the claims of the patents in suit “are dravm to the basic concept of data recognition and
storage,” and that the claims “are really just the application of a generic computer and a generic
network to a fundamental human activity: filling out tax forms by hand with information from a
ledger using a pen and paper.” (ld. at 19, 21). Green Shades asserts that Aatrix has failed to state

a claim upon which relief may be granted and asks the Court to dismiss this suit in its entirety.

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 3 of 31 Page|D,636

Aatrix argues in its Response in opposition that the motion should be denied because an
assessment of validity is premature, as the Court has not been provided with “a full
understanding of the basic character of the claimed subject matter.” (Doc. 25 at 14). As such,
Aatrix argues that the Court should permit claim construction to go forward before assessing the
validity of the claimed patents. (Id.). Alternative|y, Aatrix argues that (l) the claimed patents
are not directed to an abstract idea, (2) if the claimed patents are directed to an abstract idea, the
“correct” abstract idea is different than the abstract idea(s) that Green Shades puts forth, and (3)
if the claimed patents are directed to Aatrix’s “correct” formulation of the abstract idea, the
claims of both patents, when read individually and as an ordered combination, are sufficiently
specific and limited to contain an inventive concept that transforms the abstract idea into a
patent-eligible application of that idea.

lI. STANDARD OF REVIEW

To survive a motion to dismiss under Rule lZ(b)(6), Rule 8(a)(2) requires only that the
complaint contain "a short and plain statement ol`the claim showing that the pleader is entitled to
relief.” Fed. R. Civ. P. 8(a)(2). In interpreting this pleading standard, the Supreme Court has
explained that “a complaint must contain sufficient factual matter, accepted as true, to ‘state a
claim to relief that is plausible on its face.’ ” Ashcroft v. [qbal, 556 U.S. 662, 678 (2009)
(quoting BeII Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). It is not necessary that the
complaint demonstrate that the defendant’s liability is more probable than not; nevertheless, “it
asks for more than a sheer possibility that a defendant has acted unlawfully.” Ia'. (citing
Twombly, 550 U.S. at 556).

In reviewing a motion to dismiss, the Court must "accept[] the allegations in the

complaint as true and constru[e] them in the light most favorable to the plaintif .” Hill v. White,

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 4 of 31 Page|D 637

321 F.3d 1334, 1335 ( l lth Cir. 2003) (per curiam). Furthermore, courts are “generally limited to
reviewing what is within the four corners of the complaint on a motion to dismiss.” Bickley v.
Caremark RX, lnc., 461 F.3d 1325, 1329 n.7 (1 lth Cir. 2006). However, “where the plaintiff
refers to certain documents in the complaint and those documents are central to the plaintiffs
claim, then the Court may consider the documents part of the pleading for purposes of Rule
12(b)(6) dismissal." ld. (citation and internal quotation marks omitted).l

The issue of patent eligibility under 35 U.S.C. § 101 is a question of law. Accenlure
Glc)bal Servs., GmbH v. Guidewire Soflware, Inc., 728 F.3d 1336, 1340-41 (Fed. Cir. 2013). As
such, the Federal Circuit has confirmed that courts may examine at the pleading stage whether a
patent is directed to eligible subject matter under § 101. Content Extmction & Transmission
LLC v. Wells Fargo Bank, Nal ’l Ass 'n, 776 F.3d 1343, 1349 (Fed. Cir. 2014).

Nevertheless, there is currently confusion among district courts regarding the proper
standard of proof to apply to eligibility challenges under § 101. This confusion arose in the wake
of the Supreme Court’s most recent opinion addressing the “presumption of validity,” which is
the statutory principle (originating in the common law) that every patent and each claim of a
patent is presumed valid. Microsofr Corp. v. i-Ii Ltd. P’ship, 131 S. Ct. 2238, 2245-47 (2011)
(citing 35 U.S.C. § 282). ln Microsofl Corp., the Supreme Court confirmed that the presumption

of validity (l) places the non-shifting burden of persuasion on the party challenging validity and

 

' On September 10, 2015, the Court issued an Order denying Green Shades’ Motion to

Stay Discovery and Motion for Leave to File a Reply. (Doc. 37). That Order also struck the
Declarations of A. Dale Jcnsen and .lohn B. Lunseth (Docs. 26, 27), which were filed in support
of Aatrix`s Response in opposition to the Motion to Dismiss, based on the fact that the
declarations arc not central to Aatrix’s claims. l-Iowevcr, much of the history and background
information about the patents at issue that is contained in the declarations is also found in the
"Background of the Invention" sections of the patents themselves (Doc. 7-1 at 8; Doc. 7»2 at 9).
Likewisc, the Court will not consider the evidence introduced at the hearing by Aatrix that falls
outside of the four corners of the complaint

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 5 of 31 Page|D 638

(2) requires the challenger to establish invalidity by a heightened “clear and eonvincing”
evidentiary standard of proof. Id. at 2246. Thus, because the "clear and eonvincing” evidentiary
standard applies to questions of fact, courts have grappled with the applicability of this principle
to eligibility challenges under 35 U.S.C. § 101, which, as noted, is a question of law. See, e.g.,
SloneEagle Servs., Inc. v. Pay-Plus Sols., Inc., No. 8:13-cv-2240-T-33MAP, 2015 WL 518852,
at *2 (M.D. Fla. Feb. 9, 2015) (applying the clear and convincing evidentiary standard at the
motion to dismiss stage); Cal. Insl. of Tech. v. Hughes Com))zc’ns lnc., 59 F. Supp. 3d 974, 978
& n.6 (C.D. Cal. 2014) (discussing the ambiguity behind the issue at the motion for summary
judgment stage); cf FairWarning IP, LLC v. latric Sysr. [nc., No. 8:14-cv-2685-T-23MAP, 2015
WL 3883958 (M.D. Fla. June 24, 2015) (failing to address the proper standard of proof before
finding that the patent was directed to an abstract idea and granting the del`endant`s motion to
dismiss).

'l`his confusion is misplaced. The Federal Circuit long ago applied the presumption of
validity to statutory subject-matter questions under §101, stating that while an eligibility
challenge presents a question of law, “determination of this question may require findings of
underlying facts specific to the particular subject matter and its mode of claiming." Arrhythmia
Research Tech.. Inc. v. Corazonix Corp., 958 F.2d 1053, 1055-56 (Fed. Cir. 1992). In r'i/Iicrosoft
Corp., Justice Sotomayor, writing for the majority, stated similarly. "While the ultimate question
of patent validity is one of law, the same factual questions underlying the PTO`s original
examination of a patent application will also bear on an invalidity defense in an infringement
action.” Microsoft Corp., 131 S. Ct. at 2242-43 (citations and internal quotation marks omitted).
The holding in Microsoft Corp., when considered in conjunction with .»1)')'/1)/'!/1))11'¢1, is

straightforward: Every patent and each claim of a patent is presumed valid under § 282(a), and if

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 6 of 31 Page|D 639

a patent or any claim thereof is being challenged on one or more grounds, then any questions of
fact presented must be proven by the party asserting invalidity by clear and convincing cvidcnee.
If there are no underlying questions of fact involved-and only questions of law are presented_
then the clear and convincing evidentiary standard does not apply. See, e.g., Arrhylhmia, 958
F.2d at 1055-56 (explaining that determination of subject-matter eligibility under § 101 may
require findings of underlying facts, but that in the case presented. there were no disputed
material facts).

As subject-matter eligibility under § 101 is a question of law that may be properly
addressed at the pleading stage, the Court shall proceed to do so now. 'l`he burden of persuasion
rests with Green Shades to prove such ineligibility To the extent there are any underlying
disputed factual questions presented in this challenge, the Court shall apply the clear and
convincing evidentiary standard of proof.2
lII. ANALYSIS

A. 35 U.S.C. § 101

Section 101 of the Patent Act defines the subject matter eligible for patent protection,
which is described as the invention or discovery of "any new and useful process, machine,

manufacture, or composition of matter, or any new and useful improvement thereof." 35 U.S.C.

 

2 Judge Mayer of the Federal Circuit wrote a well-cited concurrence after ri/Iicrosoft

Corp. that argues no presumption of validity attaches to § 101 challenges See Ullramercial, Inc.
v. Hulu, LLC, 772 F.3d 709, 720-21 (Fed. Cir. 2014) (Mayer, J., concurring). This is because the
question of eligibility is " ‘a threshold test’ . . . that must be satisfied before a court can proceed
to consider subordinate validity issues.” Id. at 718 (quoting Bilski v. Ka/)pos. 561 U.S. 593, 602
(2010)). Judge Mayer also noted that, “[a]lthough the Supreme Court has taken up several
section 101 cases in recent years, it has never mentioned-much less applied_any presumption
of eligibility.” Id. at 721. Green Shades cites Judge Mayer’s concurrence in support of its
argument that the presumption of validity does not apply to § 101 challenges. Perhaps Judge
Mayer’s concurrence is persuasive, but it is not the law. Precedent clearly establishes that the
presumption applies to all patents at all times for all purposes.

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 7 of 31 Page|D 640

§ 101. The Federal Circuit has explained, “For all categories [ol` patent-eligible subject matter]
except process claims, the eligible subject matter must exist in some physical or tangible form.”
See, e.g., Digilech !mage Techs., LLC v. Elecs. for lmaging, Im'.. 758 F.3d 1344. 1348 (Fed. Cir.
2014). In other Words, in order to qualify under § 101. a claim directed to a "machine,
manufacture, or composition of matter” must exist in some physical. tangible form. la'. at 1348-
49. As to “process claims,” the Supreme Court has explained,

A process is a mode of treatment of certain materials to produce a given

result. lt is an act, or a series of acts, performed upon the subject-matter to be

transformed and reduced to a different state or thing. lf` new and useful. it is

just as patentable as a piece of machinery. fn the language of the patent law. it

is an art. The machinery pointed out as suitable to perform the process may or

may not be new or patentable; whilst the process itself may be altogether new,

and produce an entirely new result. The process requires that certain things

should be done with certain substances, and in a certain order; but the tools to

be used in doing this may be of secondary consequencc.
Diamond v. Diehr, 450 U.S. 175, 183-84 (1981) (citation and internal quotation marks omitted).

The Supreme Court has recognized three judicially-created "important implicit

exception[s]” to the Patent Act’s subject matter eligibility requirements: "Laws ol` nature, natural
phenomena, and abstract ideas are not patentable." Alice Cor/). I’ly. le. r. (:'LS Bank fm 'l, 134
S. Ct. 2347, 2354 (2014) (citation and internal quotation marks omitted). "[T]he concern that
drives this exclusionary principle [is] one of pre-emption,"' that is. " ‘that patent law not inhibit
further discovery by improperly tying up the future use ol` these building blocks of human
ingenuity.” Id. (quoting Mayo Collaboralive Servs. v. P)'omelheu.s' Labs., ]nc.. 132 S. Ct. 1289,
1301 (2012)). Nonetheless, the Supreme Court has cautioned that courts must “tread carefully in

construing this exclusionary principle lest its swallow all of patent law." ld. (citing rtla_vo, 132 S.

Ct. at 1293-94). “[A]n invention is not rendered ineligible for patent simply because it involves

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 8 of 31 Page|D 641

an abstract concept. . . . Applications of such concepts to a new and useful end . . . remain
eligible for patent protection.” Id. (citations and internal quotation marks omitted).

ln Alice, the Supreme Court clarified and reaffirmed the framework first articulated in
Mayo, for distinguishing patents that are subject-matter eligible under § 101 from those patents
that are directed to an ineligible exception Afice, 134 S. Ct. at 2355 (citing May¢), 132 S. Ct.
1289). First, the Court must determine “whether the claims at issue are directed to a patent-
ineligible concept.” Ia'. If` so, step two requires the Court to “examine the elements of the claim
to determine whether it contains an ‘inventive concept’ sufficient to 'transform’ the claimed
abstract idea into a patent-eligible application" of that idca. ]a'. at 2357 (quoting rllczjio, 132 S.
Ct. at 1294, 1298). The “inventive concept” is described as “an element or combination of
elements that is ‘sufficient to ensure that the patent in practice amounts to significantly more
than a patent upon the [ineligible concept] itself." l¢l. at 2355 (quoting Mayo, 132 S. Ct. at
1294).

ln Alice, the Supreme Court invalidated several "business methods" patents that disclosed
a computer-implemented scheme for mitigating “settlement risk."' ld. at 2351-52. The claims
were “designed to facilitate the exchange of financial obligations between two parties by using a
computer system as a third-party interntediary.” Id. at 2352. 'l`hc Court explained that the
claims were directed to the abstract concept of` “intemiediatcd settlement. i.e., the use of`a third
party to mitigate settlement risk.” Id. at 2356. 'fhis concept is "a fundamental economic practice
long prevalent in our system of commerce,” and "[t]he usc of a third-party intermediary . . . is
also a building block of the modern economy." Id. (citations and internal quotation marks
omitted). Accordingly, the Alice Court determined that the claims al issue were directed to an

abstract idea, and it proceeded to step two of the analysis.

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 9 of 31 Page|D 642

At step two, the Court explained that “the elements of each claim both individually and
‘as an ordered combination’ ” must be considered "to determine whether the additional elements
‘transform the nature of the claim’ into a patent-eligible application." ld. at 2355 (quoting Mayo,
132 S. Ct. at 1297-98). Step two can be described "as a search for an inventive concept." ld. ln
other words, the claims “must include ‘additional features` to ensure" that the claim does not
monopolize and preempt the abstract idea, ld. at 2357 (citation omitted). 'l`he “transf`ormation
into a patent-eligible application requires ‘more than simply stating the abstract idea while
adding the words ‘apply it.’ ” Id. (quoting Mayo, 132 S. Ct. at 129-l). Further. "limiting the use
of an abstract idea ‘to a particular technological environment’ ” is insufficient to transform the
abstract idea. ld. at 2358 (quoting Bi/ski v. Kappos, 561 U.S. 593, 610-11 (2010)). The
implementation of a generic computer simply combines these two principles and does not, by
itself, supply the inventive concept. Id. (reviewing analogous cases).

The Alice Court noted that the method claim elements. taken scparately. described
computer functions that are “purely conventional." Id. at 2359. "Conventional" or “generic”
computer functions include “electronic recordkeeping . . . . obtain[ing] data. adjust[ing] account
balances, and issu[ing] automated instructions; all of these computer functions are ‘well-
understood, routine, conventional activities’ previously known to the industry." ld. (quoting
Mayo, 132 S. Ct. at 1294). Requiring “a generic computer to perform generic computer
functions” at each step does not supply an inventive concept. l¢/. thn considered “as an
ordered combination,” the method claim elements did not “purport to improve the functioning of
the computer itself” or “effeet an improvement in any other technology or technical field.” ld.
(citations omitted). As such, the Supreme Court held that the method claims "amount[ed] to

nothing significantly more than an instruction to apply the abstract idea of intermediated

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 10 of 31 Page|D 643

settlement using some unspecific, generic computer.” l¢l. at 2359-60 (citation and internal
quotation marks omitted). Thus, the Court held those claims to be ineligible under § 101.

lt is important to understand what the Alice Court meant when it explained that courts
“must first determine whether the claims at issue are directed to a patent-ineligible concept.”
Alice, 134 S. Ct. at 2355. The term “directed to"’ is a term of art meaning "rccited by the
claims.” ld. at 2356. The United States Patent and Trademark Oflice ("USP'I`O"), in its “2014
Interim Guidance on Patent Subject l\/latter Eligibility`" issued in the wake of .4lice, explains that
" ‘[d]ireeted to’ means the [abstract idea] is recited in the claim, l.e.t the claim sets forth or
describes the [abstract idea].” USPTO, 2014 interim Guidance on Patent Subject lvfatter
Eligibility, at 10 (2014), available at http://www.uspto.gov/sitcs/def`au|t/liles/documents/
training%20-%202014%20interim%20guidance.pdf. "If the invention is merely based on or
involves an [abstract idea], but the [abstract idea] is not set forth or described in the claim, the
claim is not directed to an exception and is eligible." Id. at l 1; see also Digilech, 758 F.3d at
1350 (“A claim may be eligible if it includes additional inventive features such that the claim
scope does not solely capture the abstract idea.”). The invention disclosed in the claims
themselves govern the Court’s analysis, and the Court tnust distill the claims to discover an
abstract idea, Generally, the Court does not consider the preamble of a claim. which may
summarize the type of invention recited in the body of the claim or identify a function or purpose
of the invention. See, e.g., Bicon. lnc. v. Sl)'uuma)m Co.. 441 F.3d 945. 952 (1"ed. Cir. 2006)
(“Preamble language [of` a claim] that merely states the purpose or intended use of an invention
is generally not treated as limiting the scope of the claim."). The preamble of a claim is a

substantive limitation on the scope of the claimed invention, however. where it "recites essential

10

` Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 11 of 31 Page|D 644

structures or steps, or if it is ‘necessary to give lifc, meaning and vitality` to the claim.” ln re
Cruciferous Sproul Litig., 301 F.3d 1343, 1347 (Fed. Cir. 2002) (citation omitted).
Recently, the United States District Court for the District of` l)elaware issued a detailed
opinion that clearly organized and summarized the "evolution of the § 101 jurisprudence, from
the complete rejection of patentability for computer programs to the almost complete acceptance
of such, to the current (apparent) requirements.” rllr)rivation I)movuli()n.s‘. LL(,` v. Petsmarl, Inc.,
- F. Supp. 3d - , 2016 WL 141621, at *5 (D. Del. Jan. 12, 2016) (citations omitted). 'l`he court
noted that “even though most of the patent claims now being challenged under § 101 would have
survived such challenges if mounted at the time of issuance. these claims are now in jeopardy
under the heightened specificity required by the Federal Circuit post-.~llice." ld. The court went
on to explain:
ln trying to sort through the various iterations of thc § 101 standard, the court
looks to DDR as a bencltmark; i.e., the claims (inl`ormed by the specification)
must describe a problem and solution rooted in computer teclmology. and the
solution must be (1) specific enough to preclude the risk of` pre-cmption, and
(2) innovative enough to “override the routine and conventional" use of the
computer

ld. (quoting DDR Holding.s', LLC v. Hotels.com, L.l’., 773 F.3d 1245, 1258-59 (Fed. Cir. 2014)).

With these principles in mind, the Court turns to the patents at issue in this ease. Green
Shades relies on Mayo, Alice, and subsequent district court and Federal Circuit decisions issued
in Alice’s wake to support its argument that Aatrix"s patents are directed to a patent-ineligible
abstract idea and are thus invalid as a matter of law. The Court has extensively reviewed the
‘615 and ‘393 Patents and has a “full understanding of the basic character of the claimed subject

matter." Bancorp Servs., LLC v. Sun Lt`/e /lssur. Cr). o/`Ccm.. 687 F.3d 1266. 1273-74 (Fed. Cir.

2012). As such, the Court will proceed to analyze the claimed patents` eligibility under § 101.

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Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 12 of 31 Page|D 645

B. The ‘615 Patent

ln patent infringement actions wherein the defendant challenges the eligibility of the
patent at issue under § 101, the parties sometimes stipulate that one (or morc) of the claims is a
representative claim that may be used to analyze the subject matter and scope of the patent. ln
this case, Green Shades asserted in its Motion to Dismiss that Claims 1. 11, and 22 are the
independent, and thus representative, claims of the '615 Patent. Aatrix disputed this conclusion
in its Response in opposition, and at the hearing on the motion. Aatrix asserted that Claims 1 and
22 are the independent claims which Green Shades is alleged to have infringed Accordingly,
the Court will proceed to analyze Claims 1 and 22 as the representative claims. Claim 1 of the
‘615 Patent is an apparatus claim. lt claims:

1. A data processing system for designing creating. and importing data into. a
viewable form viewable by the user of the data processing system.
comprising:

(a) a form file that models the physical representation of an original paper
form and establishes the calculations and rule conditions required to fill in
the viewable form;

(b) a form file creation program that imports a background image from an
original form, allows a user to adjust and test-print the background image
and compare the alignment of the original form to the background test-
print, and creates the form file;

(c) a data file containing data from a user application for populating the
viewable form; and

(d) a form viewer program operating on the form file and the data file, to
perform calculations, allow the user of the data processing system to
review and change the data, and create viewable forms and reports

(Doc. 7-1, col. 19, ll. 59 - col. 20, ll. 9).

As an apparatus or system claim, Claim l defines the claimed invention in terms of its

component parts. Broken down, Claim 1 describes the system`s main components and functions

of said components Aatrix asserts that Claim 1 is directed to specific components. and that

these components further have specific characteristics and limitations Accordingly, Aatrix

12

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 13 of 31 Page|D 646

argues that Claim 1 is not directed to an abstract idea at all, but rather, it is directed to specific
components that, when taken together, form the whole patented invention.
Claim 22 of the ‘615 Patent is a method claim, lt claims:

22. A method for designing, creating, and importing, on a digital computer having
a memory and a processor executing a stored program, data into, a viewable
form viewable by the user of a data processing system, the viewable form
replicating a paper form, comprising the steps of:

(a) a form designer executing a forms designer program in the digital
computer, the forms designer program allowing the form designer to
create a form file that, when subsequently printed, will exactly match an
original paper form and will permit calculations and rule conditions
required to fill tn the form;

(b) executing a data file importing program in the digital computer, the data
file importing program seamlessly importing data from an end user
application program into a data file; and

(c) subsequently an end user executing a forms viewer program, the forms
viewer program generating a viewable form by merging data in the data
file with specific fields in the form file, allowing the user of the data
processing system to review and change the data, performing calculations
on the data, and generating a report that exactly matches the original paper
form.

(Doc. 7-1, col.21, 11.30-51).

As a method claim, Claim 22 defines the claimed invention in terms of how it is done.
Broken down, Claim 22 contains steps and functions of the system components used at each
step. Aatrix asserts that Claim 22 describes a complex, multi-step process that is not directed to
an abstract idea.

Green Shades asserts that, by distilling the details of Claims l and 22 of the ‘615 Patent,
the claims are directed to the same abstract idea: the fundamental human activity of filling out

forms and filing them, which can be accomplished by a human using a pen and paper.3 This test

 

3 Aatrix asserts in its Response in opposition that Green Shades set forth two separate and
conflicting “abstract ideas” in its Motion to Dismiss. (Doc. 25 at 10). However, the Court finds
that Green Shades has only set forth one abstract idea in its Motion to Dismiss, and Green
Shades only argued one abstract idea at the hearing Early in the motion, Green Shades asserted

13

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 14 of 31 Page|D 647

“ask[s] whether the elaims’ steps ‘can be performed in the human mind, or by a human using a
pen and paper.’ ” OpenTI/, Inc. v. Apple, Inc., No. l4-cv-01622-I~ISG, 2015 WL 1535328, at *4
(N.D. Cal. Apr. 6, 2015) (quoting CyberSource Corp. v. Relail Decisions, Inc., 654 F.3d 1366,
1372 (Fed. Cir. 2011)). Further, “[t]he pen-and-paper test does not require described electronic
components to literally exist on paper: instead, it is an analytical tool to test whether the
underlying concept described in the claims is abstract.” ld. (citations omitted). Indeed, “a claim
directed to an abstract idea does not move into section 101 eligibility territory by ‘merely
requiring generic computer implementation.’ ” ld. (quoting buySAFE, Inc. v. Google, Inc., 765
F.3d 1350, 1354 (Fed. Cir. 2014)).

In the altemative, Aatrix argues that the claimed patents are directed to the abstract idea
of “creating and filling out computerized forms,” and that the ‘615 Patent enables forms to be
created and filled out on a generic computer, (Doc. 25 at 16). That being the case, Aatrix further
argues that the claims recited in the ‘615 Patent do not preempt “the entire abstract idea of
creating and filling out forms;” rather, the claims “instruct a specific way and exactly how to
make and use forms on a computer.” (ld.). Aatrix asserts that the claims “employ specific
structures or steps that not in the prior art” that form the “inventive concept” required at step two
of the Mayo test. (ld. at 16-18).

As an initial matter, it is important to distinguish the nature of Claims 1 and 22; Claim l

is an apparatus claim that describes the claimed components of the patented invention, and Claim

 

that the patents “are directed toward the abstract idea of designing, creating, calculating, and
importing data into, an electronic form on a generic computer connected to a generic network
that replicates a paper form and is viewable, editable, and able to be printed or electronically
transmitted, by a user of that generic computer.” (Doc. 20 at 3, 9-10). Later in the motion,
Green Shades summarized the aforementioned abstract idea by stating, “ln other words, data
processing which could also be done by a human using a pen and paper.” (Doc. 20 at 18).
Green Shades also argued the pen-and-paper test at the hearing. Accordingly, the Court will
proceed to analyze the claimed patents pursuant to the pen-and-paper test.

14

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 15 of 31 Page|D 648

22 is a method claim that describes the step-by-step process of` how the invention is carried out,
by using the components described in Claim 1. The pen-and-paper test is generally used to
analyze method claims, as it asks whether a claim is directed to a mental process (thinking) that
“ ‘can be performed in the human mind, or by a human using a pen and paper.’ ” OpenTV, 2015
WL 1535328, at *4 (quoting CyberSource, 654 F.3d at 1372). Aatrix asserts that Green Shades
improperly lumped Claims l and 22 together in its Motion to Dismiss and failed to analyze the
claims separately, as is generally required when challenging the validity of a patent or claim
thereof. This requirement is based on the language of 35 U.S.C. § 282, which states that “[e]ach
claim of a patent (whether in independent, dependent, or multiple dependent form) shall be
presumed valid independently of the validity of other claims.” Id.; ()rlho Pharma. Corp. v.
Smith, 959 F.2d 936, 942 (Fed. Cir. 1992) (“A party challenging the validity of a claim, absent a
pretrial agreement or stipulation, must submit evidence supporting a conclusion of invalidity of
each claim the challenger seeks to destroy.” (eitation and internal quotation marks omitted)).
While it is true that Green Shades lumped its analysis of Claims 1 and 22 together, it is
not necessarily true that doing so was improper. In Bancorp, the Federal Circuit dismissed the
plaintiff" s argument that system and method claims cannot be abstract ideas. chcorp, 687 F.3d
at 1276. Courts should “look not just to the type of claim but also ‘to the underlying invention
for patent-eligiblity purposes.’ ” Id. (quoting CyberSource, 654 F.3d at 1542). ln clear tenns, it
stated that “a machine, system, medium, or the like may in some cases be equivalent to an
abstract mental process . . . . [T]he form of the claims should not trump basic issues of
patentability.” Id. at 1277. Indeed, the Supreme Court “has long warned against interpreting
§ 101 in ways that make patent eligibility depend simply on the draf`tman’s art.” Alice, 134 S.

Ct. at 2360 (citations and internal quotation marks omitted). The Alice Court held that the

15

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 16 of 31 Page|D 649

challenged patents’ “system claims are no different from the method claims in substance. The
method claims recite the abstract idea implemented on a generic computer; the system claims
recite a handful of generic computer components configured to implement the same idea.” ld.
Thus, depending on the language and scope of different claims in a patcnt, it is possible for
method and system claims to be indistinguishable from one another. lt is worth noting, however,
that the system and method claims of the ‘615 Patent are written differently than the typical
software patent claims being challenged in courts.

ln Contem Ex!raction, the plaintiff argued on appeal that the failure of the defendant and
the district court to individually address each claim was erroneous and inconsistent with the
statutory requirement 776 F.3d at 1348. The Federal Circuit found no error; it held that the
district court “correctly determined that addressing each claim of the asserted patents was
unnecessary.” ld. The district court had conducted an independent analysis and held that Claim
l of each patent was representative, “because all of the claims are ‘substantially similar and
linked to the same abstract idea.’ ” ld. (quoting the district eourt). In affirming the district court,
the Federal Circuit agreed that limiting the analysis to one representative claim of each patent
was sufficient because the claims “are substantially similar in that they recite little more than the
same abstract concept.” ld. The circumstances of each patent case are unique; Green Shades’
failure to analyze Claims l and 22 separately is not necessarily fatal to its Motion to Dismiss,
depending on the substance of the claims themselves.

l. Claim l of the ‘615 Patent

As noted above, Aatrix argues that Claim l is directed to specific components that, when

considered as a whole, describe a narrowly-drawn, complete program for designing, creating,

and filling out computerized forms. First and foremost, the Court notes that, as a system claim,

16

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 17 of 31 Page|D 650

the system must exist in some physical, tangible form _to qualify as subject-matter eligible under
§ 101. See, e.g., Digi!ech, 758 F.3d at 1348-49. An intangible system claim is ineligible for
patent protection.

ln Digitech, the “device profile” described in the patent was “not a tangible or physical
thing.” ld. at 1349. The Federal Circuit explained that, “[a]s noted in the . . . claims, the device
profile is comprised of two sets of data that describe a device dependent transformation,” but that
the “claims are not directed to any tangible embodiment of this information (i.e., in physical
memory or other medium) or claim any tangible part of the digital processing system. The
claims are instead directed to information in its non-tangible form.” ld. 'I`he claims were not
described as “any . . . embodiment of hardware or software . . . [and] emcompass[ed] all
embodiments of the information contained in the device profile, regardless of the process
through which this information is obtained or the physical medium in which it is stored.” ld.

Last year, the Federal Circuit again affirmed a district court’s invalidation of system
claims in a patent by holding that the claims were intangible and thus did not fall within any of
the four categories of eligible subject matter under § 101. Allvoice Dev. US, LLC v. Microsofl
Corp., 612 F. App’x 1009, 1017-18 (Fed. Cir. 2015). In Allvoice, the Federal Circuit explained
that “[s]oftware may be patent eligible, but when a claim is not directed towards a process, the
subject matter must exist in tangible form. Here, the disputed claims merely claim software
instructions without any hardware limitations.” ld. at 1018. The plaintiff argued that the claims
necessarily imply the existence of`a “machine readable, physical state,” and should thus qualify
as a “manufacture,” but the court refused “to import or . . . ‘imply’ a tangible medium into claims

that fail to recite or reference any such medium.” ld.

17

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 18 of 31 Page|D 651

As recited above, Claim 1 of the ‘615 Patent describes a “data processing system,”
comprising (a) a form file with specific characteristics that establishes calculations and rule
conditions to fill in the form, (b) a form file creation program that manipulates and digitizes an
original form and creates the form file, (c) a data file that contains data exported from a user
application, and (d) a form viewer program that operates on the form file and data file to perform
calculations, allows the user to review and further modify the data, and creates a viewable form.
(Doc. 7-1, col. 19, ll. 59 - col. 20, ll. 9). Claim 1 is not directed to any tangible or physical
component, form, or structure. Claim 1 is directed to abstract files, data, and programs in an
intangible state, disconnected from the physical world in any way. Digitech, 758 F.3d at 1349-
50. The system claim does not “claim any tangible part of the digital processing system”
through which the files, data, and programs are stored, processed, or viewed. ld. The preamble
of Claim 1 does not describe a tangible medium, either, such that it could “give life” to the claim.
Further, “while [the Court] read[s] claims in view of the specification, of which they are a part,
[the Court] do[es] not read limitations from the embodiments in the specification into the
claims.” Hill-Rom Servs., Inc. v. St)yker Corp., 755 F.3d 1367, 1371 (Fed. Cir. 2014) (citation
omitted).

ln Digitech and Allvoice, the Federal Circuit did not undertake to apply the Mayo test to
these intangible system claims because it was unnecessary to do so, and the Court agrees it is
unnecessary in this instance. Pursuant to these cases, Claim l of the ‘615 Patent does not fall
within any category of eligible subject matter under 35 U.S.C. § 101.

However, the analysis does not end here. While it is true that the parties’ stipulated that
the relevant claims of the ’615 Patent are independent Claims l and 22, the Court has the

authority to undertake an independent analysis to discern proper representative claims, As such,

18

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 19 of 31 Page|D 652

the Court cannot ignore the fact that dependent Claim 2 of independent Claim 1 recites a tangible
medium. Claim 2 states, “'l`he data processing system of claim 1, further comprising a client
computer and a server computer.” (Doc. 7-1, col. 20, ll. 10-11). The recitation of “a client
computer and a server computer,” while vague, claims a tangible, physical medium through
which the intangible system components described in Claim l are embodied, stored, processed,
and viewed. See Bancorp, 687 F.3d at 1275. This distinguishes Claim 1 of the ‘615 Patent from
the system claims at issue in Nuijten, Digilech, and Allvoice, wherein the dependent claims of the
independent system claims in each of those cases likewise did not recite any tangible
embodiment of the claimed system (i.e., physical memory or transmission means) or claim any
tangible part of the processing system. Cf. Allvoice, 612 F. App’x at 1017-18; Digitech, 758
F.3d at 1349-50;1n re Nuijten, 500 F.3d at 1353.

The Patent Act explains that “[a] claim in dependent form shall be construed to
incorporate by reference all the limitations of the claim to which it refers.” 35 U.S.C. § l 12(d).
This rule must be considered in context with the principle that “each claim of a patent . . . shall
be presumed valid independently of the validity of other claims; dependent or multiple
dependent claims shall be presumed valid even though dependent upon an invalid claim.” 35
U.S.C. § 282(a); see Apple Compul., Inc. v. Articulale Sys., lnc., 234 F.3d 14, 24-25 (Fed. Cir.
2000). Moreover, “the presence of a dependent claim that adds a particular limitation raises a
presumption that the limitation in question is not found in the independent claim.” Hill-Rom,
755 F.3d at 1374 (citation and internal quotation marks omitted); Bancorp, 687 F.3d at 1275
(“[T]he asserted independent method claims do not require implementation on a computer, . . .

[T]he doctrine of claim differentiation creates a presumption that the independent claims, unlike

19

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 20 of 31 Page|D 653

the dependent claims, do not require a computer to be implemented. . . . [T]he dependent method
claims are plainly limited to being ‘performed by a computer.’ ”).

ln this case, Claim 2 incorporates the intangible (and ineligible) “data processing system”
of Claim 1, and adds a limitation-a client computer and a server computer-that gives physical
form to the intangible system components of Claim 1. Cf In re Nu('}`ten, 500 F.3d at 1353 (“The
text of the claims is not limited by any specified physical medium, nor do the dependent claims
add any physical limitations.”). The question thus becomes whether Claim 2 is nevertheless
directed to an abstract idea,

2. Claim 2 of the ‘615 Patent

When broken down, Claim 2 comprises: (a) a form file with specific characteristics that
establishes calculations and rule conditions to fill in the form, (b) a form file creation program
that imports and manipulates an original form and creates the form file, (c) a data file that
contains data exported from a user application, (d) a form viewer program that operates on the
form file and data file to perform calculations and create a viewable form that the user may
review and further modify, (e) on a client computer and a server computer.

Claim 2 describes the structural components and functional limitations of said
components of a data processing system (i.e., software program) on generic computers At step
one of the Mayo test, the Court must determine “whether the claims at issue are directed to a
patent-ineligible concept.” Alice, 134 S. Ct. at 2355. ln the wake of Alice, this analysis
considers whether “the claims (informed by the specification) . . . describe a problem and

solution rooted in computer technology.” Motivation lnnovations, 2016 WL 141621, at *5
(citing DDR, 773 F.3d at 1258-59). Upon review, the Court holds that Claim 2 does not describe

a problem and solution rooted in computer technology. Rather, the Court agrees with Green

20

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 21 of 31 Page|D 654

Shades that the claim is directed to a computer-implemented data processing system that
describes a data processing system the human mind is equally capable of conceptualizing and
performing ln this way, Claim 2 is analogous to the claims in Coment Extraction in that it is
“drawn to the abstract idea of 1) collecting data, 2) recognizing certain data within the collected
data set, and 3) storing that recognized data in a memory.” Coment Extraclion, 776 F.3d at
1347. The Federal Circuit explained that “[t]he concept of data collection, recognition, and
storage is undisputedly well-known. Indeed, humans have always performed these functions.”
ld. This case is further drawn to the abstract idea of performing calculations and manipulating
data to produce new data. See Bancorp, 687 F.3d at 1279-80. Performing calculations on data is
likewise a well-known human function. See SiRF Tech., Inc. v. lnt'l Trade Com’n, 601 F.3d
1319, 1333 (Fed. Cir. 2010) (explaining that a machine is not a meaningful limit on the scope of
a claim where “the calculations . . . can be performed entirely in the human mind”). As a whole,
Claim 2 is directed to the abstract idea of collecting, organizing, and performing calculations on
data to fill out forms: a fundamental human activity that can be performed using a pen and paper.

Claim 2 is not saved because it is written as a-system claim rather than a process claim.
Indeed, this is precisely what the Alice Court meant when it cautioned against construing

eligibility claims under § 101 simply according to the draftman’s art.4 Alice, 134 S. Ct. at 2360.

 

4 'I`he patents at issue in Alice (and several related Federal Circuit cases) are written

differently than the ‘615 Patent in that they disclosed an abstract method implemented on a
generic computer (apparatus), and the recital of a generic computer did not save the method
claims from abstraction. Cf, e.g., Alice, 134 S. Ct. at 2358-60; Conlen! Extraction, 776 F.3d at
1347-48. The Alice Court noted that the system claims “recite a handful of generic computer
components configured to implement the [abstract] idea, [and] [n]early every computer . . . [is]
capable of performing the basic calculation, storage, and transmission functions required by the
method claims.” Alice, 134 S. Ct. at 2360. In this case, the system claim describes data files and
programs on a generic computer; it does not only claim the generic computer hardware itself.
However, the fact that the system claim recites a tangible medium does not save the data
processing system from abstraction.

21

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 22 of 31 Page|D 655

The data processing system disclosed in Claim 2 is comprised of specific structural components,
and the structural components are further defined by their functions. These components and
functions are not uniquely rooted in computer technology; the human mind can conjure up these
components and perform these same basic funetions. lt does not matter that a computer-
implemented program makes a human activity easier or performs the functions faster than a
human could. Bancorp, 687 F.3d at 1279; SiFR, 601 F.3d at 1333. A human could--and indeed,
humans still regularly do-obtain a form, mentally establish conditions for filling out the form,
collect data and organize it into a file, perform mathematical calculations on the data using the
previously-established conditions (either mentally or with the assistance of a pen and paper), and
fill in the form’s data fields by hand with the newly processed data, Claim 2 is directed to an
abstract idea.

At step two of the Mayo analysis, the Court “examine[s] the elements of the claim to
determine whether it contains an ‘inventive concept’ sufficient to ‘transform’ the claimed
abstract idea into a patent-eligible application” of that idea. Alice, 134 S. Ct. at 2357 (quoting
Mayo, 132 S. Ct. at 1294, 1298). ln this case, Aatrix points out that the pen-and-paper test
asserted by Green Shades does not fully describe the claim’s scope, because it “omits the
‘designing’ and ‘creating’ parts of the patent claims, among others.” (Doc. 25 at 15). Aatrix
argues that "[a] human filling out a tax form by hand would not first take drafting tools and a
published governmental form, hand draw an exacting copy of the published form, and then fill
out the copy. They would simply fill out the published governmental form.” ([d.). Aatrix does
not state specifically which elements of the claims are directed to designing and creating, but
when viewed individually, element (b) of the data processing system of Claim 2 is directed to

what may be described as “designing” and “creating” forms. However, element (b) does not

22

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 23 of 31 Page|D 656

describe a structural component that functions to design or create a new form; element (b) of
Claim 1 describes “a form file creation program that imports a background image from an
original form, allows a user to adjust and test-print the background image and compare the
alignment of the original fortn to the background test-print, and creates the form file.” (Doc. 7-1,
col. 19, 11. 66 - col. 20, ll. 3). Element (b), therefore, describes a structural component of the
system that functions to create a replica of an original fortn that is already in existence, designed
and created by some other entity, and then creates a form file,

'I`he form file, claimed in element (a), “models the physical representation of an original
paper form and establishes the calculations and rules conditions required to fill in the viewable
form.” (Doc. 7-1, col. 19, ll. 62 - 65). In other words, the form file contains an electronic
replica of an original paper form, and also contains coding that establishes calculations and rules
conditions to fill in the form. lndividually, element (a) describes nothing “inventive”; an
electronic file that depicts an image replica of an original paper image is well-known and
conventional in a generic computer, Content Extractz'on, 776 F.3d at 1347, and the calculations
and rules conditions can be performed by the human mind.

None of the clements of the claim at issue describe how the original paper form is
imported onto the generic computer for use in the data processing system, so the importation
encompass any means capable of importing images onto a computer. What is clear, however, is
that any means available would encompass “well-understood” and “routine” functions of a
generic device or network. For example, the Federal Circuit has explained that “[t]here is no
‘inventive concept’ in [the plaintif`l`s] use of a generic scanner and computer to perform well-
understood, routine, and conventional activities commonly used in the industry.” ld. at 1348. In

its Response in opposition, Aatrix even concedes that “[a] human could scan the form, print a

23

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 24 of 31 Page|D 657
copy, and fill that out,” and if the human used equipment to first calibrate the scanner to match
the aspect ratio, this would “be the equivalent of what the patent claims are directed to.” (Doc.
25 at 15 n.10).

Element (c) describes a “data file containing data from a user application for populating
the viewable form.” This element describes a “well understood” and “routine” component and
function of a computer. Lastly, element (d) describes “a form viewer program operating on the
form file and data file to perform calculations, allow the user of the of the data processing system
to review and change the data, and create viewable forms and reports.” As informed by the
specification, the viewer program “presents an onscreen representation of the form to the user,”
and “[f]ields are overlaid on top of this background,” some of which are “editable” and some of
which are “non-editable.” (Doc. 7-1, col. 12, ll. 63 - 67). A program that merge files, performs
calculations, and allows a user to manually change data likewise describes generic computer
functions. None of the elements individually contain an inventive concept.

Even if the Court were to assume that Claim 2 “describe[s] a problem and solution rooted
in computer technology,” the data processing system is not “innovative enough to ‘override the
routine and conventional’ use of the computer.” Motivalion lnnovations, 2016 WL 141621, at
*5 (quoting DDR, 773 F.3d at 1258-59). The system describes “files” with generic computer
functions, and the system “programs” also disclose generic computer functions. As an ordered
combination, the system does not contain an “inventive concept” that overrides the routine and
conventional use of a generic computer.

In sum, Aatrix’s system claim of the ‘615 Patent is directed to an abstract idea and

constitutes ineligible subject matter under 35 U.S.C. § 101.

24

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 25 of 31 Page|D 658

3. Claim 22 of the ‘615 Patent

Claim 22 is a method or process claim and describes the invention in terms of how it is
done. lt is "a series of acts, performed upon the subject-matter to be transformed and reduced to
a different state or thing.” Diehr, 450 U.S. at 183. As noted above, the Federal Circuit and the
Supreme Court have cautioned that courts should look “to the underlying invention,” and “a
machine, system, medium, or the like may in some cases be equivalent to an abstract mental
process . . . . [T]he form of the claims should not trump basic issues of patentability.” Bancorp,
687 F.3d at 1276-77. Claim 22 comprises the steps of (a) a form designer executing a forms
designer program in a generic computer, which allows the form designer to create a form file;
(b) executing a data file importing program in a generic computer, the program scamlessly
importing data from an end user application program into a data file; and (3) an end user
executing a forms viewer program, the program generating a viewable completed form, allowing
the user to review and change the data in the form, and generating a final report.5 (Doc. 7-1, col.
21, 11. 34-51). Some steps are performed by a user (i.e., a human), and some steps are performed
by the system (i.e., software application program).

The method of Claim 22 is, in substance, no different than the system of Claim 2. The
system claim is directed to an abstract idea, and the method claim simply directs a user of the
abstract system to “execute” different parts of the abstract system on a digital computer. Cf,
e.g., Alice, 134 S. Ct. at 2358-59; Content Extraclion, 776 F.3d at 1347-48. The asserted method

and system claims are “equivalent,” and “[t]he only difference between the claims is the form in

 

5 A method claim protects a method and is not to be interpreted as directed to a system or

apparatus, such as a computer, even if the system performs the claimed method. Bandag Inc. v.
Al Bolser 's Tire Stores lm:., 750 F.2d 903, 922 (Fed. Cir. 1984). A claim cannot be directed to
both a method and an apparatus. ld. The fact that Claim 22 recites a “digital computer” does not
save Claim 1 from being an intangible system claim.

25

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 26 of 31 Page|D 659

which they were drafted.” Bancorp, 687 F.3d at 1277; see also Contenl Extraction, 776 F.3d at
1348 (“[T]he claims of the asserted patents are substantially similar in that they recite little more
than the same abstract idea.”)

The method claim does not add anything to the patent that is not already contained within
the abstract system claim. Claim 22 of the ‘615 Patent is directed to an ineligible process under
35 U.S.C. § 101.

C. The ‘393 Patent

At the hearing, Aatrix stated that it believes Green Shades is infringing Claim 13
(apparatus) and Claim l7 (apparatus) of the ’393 Patent. lt did not assert infringement of Claim
l (method). However, the Court determines that Claim l, as the only independent method claim
of the ‘393 Patent, must be considered as a representative claim.

Claim 13 of the ‘393 Patent is an apparatus claim, It claims:

13. A data processing system, on a digital computer having a memory and a

processor for executing a program, for designing, creating, and importing data

into a form viewable by a user, comprising:

(a) a form designer program capable of executing in the memory and
directing the processor to create a form file, the form file comprising a
model of the form and establishing calculations and rule conditions
required to fill in the form, and a data field for receiving data;

(b) a data file comprising data exported from an end user application program;
and

(c) a viewer program capable of executing in the memory and directing the
processor to import the exported data to populate the data field in the form
file with the imported data, to allow the user of the data processing system
to review and change the imported data, to perform the calculations on the
imported data in the data field, and to generate the viewable form,

(Doc. 7-2, col. 20, 11. 19-36).
Claim l of the ‘393 Patent is a method claim, lt claims:
l. A method, on a digital computer having a memory and a processor for

executing a program, for designing, creating, and importing data into a form
viewable by a user of a data processing system, comprising the steps of:

26

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 27 of 31 Page|D 660

(a) executing the program to convert a paper form into a form file, the form file
comprising a model of the paper form, establishing calculations and rule
conditions required to fill in the form, and comprising a data field for
receiving data;

(b) importing data exported from an end user application into a data file and
populating the'data field in the form file with the imported data;

(c) performing the calculations on the imported data in the data field;

(d) allowing the user on the digital computer to review and change the imported
data; and

(e) outputting the viewable form.

(Doc. 7-2, col. 19, 11. 34-50).

Claim 17 of the ‘393 Patent is an apparatus claim. lt claims:

17. A computer-readable memory comprising an application program executable
by a computer having a central processing unit, the computer readable
memory configured to:

(a) allow a form designer to create a form file comprising a model of a form,
establishing calculations and rule conditions required to fill in the form;

(b) import data exported from an end user application program into a data file
and populate a data field in the form file with the imported data;

(c) allow a user of the application program to review and change the imported
data; and

(d) perform the calculations on the imported data in the data field and to
generate the form, '

(Doc. 7-2, col. 20, ll. 49-61).

The parties’ arguments for and against eligibility of the ‘393 Patent are the same as the
arguments raised in relation to the ‘615 Patent. 'I`he underlying legal principles are the same, as
well, and do not require repetition. The Court shall proceed to analyze the independent claims of
the ‘393 Patent,

1. Claim 13 of the ‘393 Patent

Claim 13 of` the ‘393 Patent and Claim 1 of the ‘615 are similar in many respects, but

they differ in a fundamental way. Whereas Claim l is directed to an intangible system

disconnected from any tangible medium, rendering it ineligible subject matter under § 101, the

“data processing system” of Claim 13 is “directed to [a] tangible embodiment of this information

27

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 28 of 31 Page|D 661

(i.e., in physical memory)” and claims a “tangible part of the digital processing system.”
Digitech, 758 F.3d at 1349. Claim 13 recites a “digital computer having a memory and a
processor” in the preamble, and in the claim itself, it recites “a form designer program capable of
executing in the memory and directing the processor to create a form file . . . .” and “a viewer
program capable of executing in the memory and directing the processor to import the exported
data . . . (Doc. 7-2, col. 20, ll. 19-36). The inclusion of a memory and processor in Claim 13
of the ‘393 Patent fixes the defect in Claim 1 of the ‘615 Patent, See Allvoice, 612 F. App’x at
1017-18; Digitech, 758 F.3d at 1349-50. Even if Claim 13 had only recited the tangible medium
in the preamble, this likely would have been sufficient, as the preamble of a claim is a
substantive limitation on the scope of the claimed invention where it “reeites essential structures
or steps, or if it is ‘necessary to give life, meaning, and vitality’ to the claim.” lrt re Cruciferous
Sprout Litig., 301 F.3d at 1347 (citation omitted).

However, this is where the material differences end. The language of Claim 13-the
system components and functions of said components_is not materially different from the
language employed by Claim 1 of the ‘615 Patent. The components have been reorganized
within the claim and their described functions have been tailored, but the main components and
functions of the data processing system remain the same. For example, Claim 13 now describes
“a form designer program [capable of executing in the memory and directing the processor] to
create a form jile.” (Doc. 7-2, col. 20, 11. 23-24). Claim 1 describes “a form file creation
program [that imports a background image from an original form . . .] and creates the form_/ile.”
(Doc. 7-1, col. 19, 11. 66 - col. 20, ll. 3). The functional language in Claim 1 has been removed
and replaced by tangible system language in Claim 13, but the component itself is the same. As

another example, the language “and a data field for receiving data” has been added to the

28

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 29 of 31 Page|D 662

description of the “form file” in Claim 13, where this language is lacking in Claim 1. Lastly,
Claim 13 now describes “a viewer program capable of executing in the memory and directing the
processor to import the exported data to populate the data field in the form file with the imported
data.” (Doc. 7~2, col. 20, ll. 30-33). By contrast, Claim 1 describes “a form viewer program
operating on the form file and the data file.” (Doc. 7-1, col. 20, 11. 6-7).

None of the changes made to Claim 13 materially change the analysis the Court
performed in relation to Claim 2 of the ‘615 Patent at either Mayo step one or step two.6 The
data processing system disclosed in Claim 13 of the ‘393 is an abstract idea and thus ineligible
subject matter under 35 U.S.C. § 101.

2. Claim l of the ‘393 Patent

The method disclosed in Claim 1 of the ‘393 Patent largely tracks the data processing
system disclosed in Claim 13. Claim 13 discloses the system components and their functions,
and Claim 1 discloses the steps taken by way of those same components The steps of Claim 1
of the ‘393 Patent are broken down differently than the steps of Claim 22 of the ‘61 5 Patent, but
they are substantively analogous Some steps are performed by a user (i.e., a human), and some
steps are performed by the system (i.e., software application program). In this way, the above
analysis of Claim 22 of the ‘615 Patent applies with equal force to Claim 1 of the ‘393 Patent.

The method of Claim 1 is, in substance, no different than the system of Claim 13. The
system claim is directed to an abstract idea; the method claim directs the user to “execute” the
abstract idea on a digital computer. Cf, e.g., Alt`ce, 134 S. Ct. at 2358-59; Content Extraction,
776 F.3d at 1347-48. The steps recited in Claim l are all conventional and routine computer

functions, such as “importing data into a data file,” “populating the data field into the form,”

 

6 As a reminder, Claim 2 of the ‘615 Patent incorporates the language of both Claim 1 and
Claim 2. 35 U.S.C. § 112(d); Bancorp, 687 F.3d at 1275.

29

Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 30 of 31 Page|D 663

“performing the calculations on the imported data, and “outputting the viewable form.” In Alice,
the Supreme Court explained that “[t]he function performed by the computer at each step of the
process is purely conventional,” which is insufficient for patent eligibility. Id. at 2359 (citation
omitted). The asserted method and system claims are “equivalent,” and “[t]he only difference
between the claims is the form in which they were dralied.” Bancorp, 687 F.3d at 1277.

The method claim does not add anything to the patent that is not already contained within
the abstract system claim. Claim 1 of the ‘393 Patent is directed to an ineligible process under 35
U.S.C. § 101.

3. Claim 17 of the ‘393 Patent

Claim 17 of the ‘393 Patent does not have a comparable counterpart in the ‘615 Patent.
The preamble describes “[a] computer-readable memory comprising an application program
executable by a computer having a central processing unit” configured to carry out several steps
recited in Claim 1, the independent method claim. (Doc. 7-2, col. 20, ll. 49-61). The Supreme
Court and Federal Circuit have held computer-readable memory/medium claims to be abstract
and ineligible in various cases when they are substantively equivalent to the method claim. See,
e.g., Alice, 134 S. Ct. at 2360; Bancorp, 687 F.3d at 1276 (“[A] claim directed to a ‘computer
readable medium,’ despite its format, should be treated no differently from the comparable
process claims to be held patent ineligible under § 101.”); id. at 1277 (“[T]he asserted system
and medium claims [are] no different from the asserted method claims . . . . There is no material
difference between these two categories of claims in the asserted patents.”). Accordingly, Claim

17 is directed to ineligible subject matter under 35 U.S.C. § 101.

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Case 3:15-cV-00164-HES-I\/|CR Document 59 Filed 03/30/16 Page 31 of 31 Page|D 664

IV. CONCLUSION

lior the foregoing reasons. the Court holds the ‘615 and ‘393 Patents to bc drawn to
ineligible subject matter under 35 U.S.C. § 101. As subject-matter eligibility under § 101 is a
question of law and there are no other pending allegations the present action is due to be
dismissed with prejudicel

Accordingly, it is hereby ORDERED:

l. Dcfendant"s “Dispositive lvlotion to Dismiss Amended Complaint Under 35 U.S.C.

§ 101" (Doc. 20, filed .luly 15. 2015) is GRANTEI);

I\J

'l`his case is l)lSMISSED with prejudiee; and

The Clerk is directed to TERMINATE any pending motions and to CLOSE this

va

CEISC.

I)ONE AND ENTERED at .laeksonville, l?loricia, this gaf/day of March, 2016.

Copies to:

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31

